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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

LACI N. BLANCHARD, IDIVIDUALLY,                         CIVIL ACTION NO: 4:22-cv-02420
AND AS NEXT FRIEND OF W.B.,
SURVIVING MINOR CHILD OF                                JUDGE: GEORGE C. HANKS, JR.
RONNIE P. BLANCHARD, JR.
                                                        MAGISTRATE JUDGE: ANDREW
VERSUS                                                  M. EDISON

SANARE ENERGY PARTNERS, LLC,
ET AL.

           ALL COAST, LLC’S CROSS-CLAIM FOR DEFENSE AND INDEMNITY

          NOW INTO COURT, through undersigned counsel, comes Defendant and Cross-

Claimant All Coast, LLC, who asserts this Cross-Claim seeking defense and indemnity from

Sanare Energy Partners, LLC for all claims brought against All Coast in the above captioned

matter.

                                                  1.

          All Coast brings this Cross-Claim under 28 U.S.C. §1367, since it is so related to the

claim which is the basis of Blanchard’s lawsuit, that it forms part of the same case or

controversy, and this Cross-Claim is proper under Rule 13 (g) of the Federal Rules of Civil

Procedure.

                                                  2.

          On April 18, 2016, All Coast and GOL, LLC entered into a Brokerage Agreement

whereby All Coast appointed GOL as its agent for purposes of obtaining charters for All Coast

vessels.
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                                                3.

       On February 20, 2019, GOL and Sanare entered into a Blanket Time Charter Agreement

that provided a contractual framework for the periodic charter of GOL owned or brokered

vessels. The Agreement defines Vessel Indemnities as “…the vessels, their owners and

operators, masters, crews…respective officers, directors, members, employees, and

underwriters.” The Agreement also provides:

       The Vessel Indemnitees shall have no liability for injury to, illness of or death of
       the personnel or employees of CHARTERER, or of CHARTERER’S other
       contractors (excluding the Vessel Indemnities) or subcontractors or their
       employees, however said injury, illness or death arises or occurs, whether, in
       whole or in part, through the negligence of the Vessel Indemnities,
       unseaworthiness (pre-existing or not) of the vessel or otherwise. CHARTERER
       shall protect, defend, indemnify, and hold harmless the Vessel Indemnitees
       from and against all claims, suits, losses, liabilities, demands, costs, damages,
       or expense as a result of such illness, injury, or death.

                                                4.

       The Agreement also provided that “This Charter shall be construed in accordance

with the admiralty and maritime laws of the United States.”


                                                5.

       On March 25, 2022, Ronnie Blanchard was working for SBS Energy Services, LLC on a

platform owned by Sanare in the Gulf of Mexico. The All Coast vessel, the L/B SWORDFISH

transported Blanchard to the platform and was jacked up next to the rig on the day of the

incident.

                                                6.

       Blanchard was performing work on the platform’s blowout preventor and pipe jack

assembly when a portion of the equipment collapsed and fell into the water. Blanchard was




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attached to the assembly at the time of the collapse and fell into the water along with the

equipment, resulting in his death.

                                                         7.

        On June 2, 2022, Laci Blanchard, individually, and as next friend of W.B., surviving

minor child of Blanchard, filed her Original Petition in the District Court of Harris County,

Texas. She named SBS and Sanare as defendants alleging negligence under General Maritime

Law and premises liability theories. On July 21, 2022, Sanare filed its notice of removal, and the

case was subsequently removed to this Court.

                                                         8.

        On August 16, 2022, Mrs. Blanchard filed her First Amended Complaint, adding All

Coast as a defendant along with SBS and Sanare, and alleging negligence on behalf of All Coast

under the General Maritime Law. 1

                                                         9.

        As the owner and operator of the SWORDFISH, All Coast is a Vessel Indemnitee

entitled to defense and indemnity from Sanare, as per the terms of the Charter Party between

GOL and Sanare.

                                                        10.

        All Coast tendered its defense and indemnity to Sanare in writing on October 11, 2022.

Despite this tender, and Sanare’s continuing assurances that it would provide All Coast with an

answer, Sanare has yet to comply with its contractual obligations and accept the tender.




1
 Blanchard references the Jones Act in the jurisdictional section of her pleading and in fn.1 on page 4 of her First
Amended Complaint, but only alleges that the claims against Sanare and All Coast arise under the General Maritime
Law in the body of her Complaint.

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                                                 11.

       As a result of Sanare’s refusal to accept the tender, All Coast has sustained damages by

incurring ongoing defense costs in having to defend against Mrs. Blanchard’s claims.

       WHEREFORE, Defendant and Cross-Claimant All Coast respectfully requests that its

Cross-Claim be deemed good and sufficient and after due proceedings had, there be judgment in

its favor for defense and indemnity from Sanare with all interest, costs, attorney’s fees, and all

such additional legal and equitable relief to which it may be entitled.



                                                              Respectfully submitted,

                                                              THE MOELLER FIRM, LLC


                                                              ____________________________
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